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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

                                              :
NATIONAL CREDIT UNION                         :
ADMINISTRATION BOARD,                         :
as Receiver/Liquidating Agent of              :
St. Francis Campus Credit Union,              :
                                              :
       Plaintiff,                             :
                                              :
              v.                              : Case No.: 0:16-cv-00139 (DWF/LIB)
                                              :     JURY TRIAL DEMANDED
CUMIS INSURANCE SOCIETY, INC.,                :
                                              :
       Defendant.                             :
                                              :

                                  [PROPOSED] ORDER

       This matter came before the Court upon the CUMIS Insurance Society, Inc.’s

motion to compel and any response thereto. Appearances were noted in the record.

       Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED:

       1.     The motion is granted; and,

       2.     The emails identified in the motion shall be produced to defendant by

plaintiff within 10 days of this order.


Dated: _________________, 2017              BY THE COURT:



                                            The Honorable Leo I. Brisbois
                                            U.S. Magistrate Judge
